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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     STEFANIE L. RUTLEDGE, )
                             )
               Plaintiff,    )
v.                           )                    CIV-17-116-F
                             )
1.     KINDERCARE EDUCATION, )
       LLC,                  )
                             )                    JURY TRIAL DEMANDED
               Defendant.    )                    ATTORNEY LIEN CLAIMED

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

Plaintiff, Stefanie L. Rutledge, hereby stipulates with the Defendant, KinderCare Education,

LLC, that her claims in the above styled and numbered action shall be dismissed with

prejudice. The parties shall bear their own costs and attorney fees.

       RESPECTFULLY SUBMITTED THIS 19th DAY OF JUNE, 2017.

                                          s/ Lauren W. Johnston
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                                          Lauren W. Johnston, OBA # 22341
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                                          (Signed with permission)
                                          John S. Devlin, III, Pro Hac Vice

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                                 - and -

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